Case: 2:24-cv-01519-EAS-CMV Doc #: 1-4 Filed: 03/29/24 Page: 1 of 4 PAGEID #: 472
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 We may file our own supplemental removal notice later.   If we do, we’ll send you a
 draft.


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 brian.boone@alston.com

 ________________________________
 From: Ryan, Daniel K. <dryan@hinshawlaw.com>
 Sent: Thursday, March 28, 2024 6:57:20 PM
 To: Burstein, Steven M <steven_m_burstein@uhc.com>; Boone, Brian
 <Brian.Boone@alston.com>; Sims, S Jnatel <jnatel_sims@uhc.com>; Brodzik,
 James M. <JBrodzik@hinshawlaw.com>
 Subject: RE: Cupp v United and EviCore

 EXTERNAL SENDER – Proceed with caution
 ________________________________



 Hi Jnatel and Brian. Please see the attached Notice of Removal that we plan to file
 tomorrow, Friday. Wee welcome a call at your earliest convenience. Thanks. Dan




 Daniel K. Ryan
 Partner/Management Committee
 Hinshaw & Culbertson LLP
 151 North Franklin Street, Suite 2500, Chicago, IL 60606
Case: 2:24-cv-01519-EAS-CMV Doc #: 1-4 Filed: 03/29/24 Page: 3 of 4 PAGEID #: 474


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 t9S_ZRjo_STL4KGEYyYfygPnQ65n0cy_eMC9_VlL__O-$>

 [Hinshaw & Culbertson LLP]<http://www.hinshawlaw.com/>




 From: Burstein, Steven M <steven_m_burstein@uhc.com>
 Sent: Wednesday, March 27, 2024 5:27 PM
 To: Ryan, Daniel K. <dryan@hinshawlaw.com>; Boone, Brian
 <Brian.Boone@alston.com>; Sims, S Jnatel <jnatel_sims@uhc.com>; Brodzik,
 James M. <JBrodzik@hinshawlaw.com>
 Subject: Cupp v United and EviCore



 Brian and Jnatel- I am connecting you via email with Dan and James from Hinshaw
 who are representing EviCore. They wanted to connect about possible removal.
 Thanks. -Steve Steven M. Burstein Deputy General Counsel UnitedHealthcare 9700
 Health

 Brian and Jnatel-

 I am connecting you via email with Dan and James from Hinshaw who are
 representing EviCore. They wanted to connect about possible removal. Thanks. -
 Steve



 Steven M. Burstein
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 Deputy General Counsel

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